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                                                     U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
 MKP/TH/KMT                                         271 Cadman Plaza East
                                                    Brooklyn, New York 11201


                                                    January 30, 2019

 By E-mail and ECF

 The Honorable Nicholas G. Garaufis
 United States District Judge
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:      United States v. Keith Raniere, et al.
                        Criminal Docket No. 18-204 (S-1) (NGG) (VMS)

 Dear Judge Garaufis:

                 The government respectfully requests a two-day adjournment for its time to
 file its motion to admit enterprise evidence, from today until Friday, February 1, 2019. The
 government has conferred with counsel for all defendants and they do not object to the
 adjournment request. Additionally, pursuant to Rule IV(C) of the Court’s Individual Rules,
 the government respectfully requests permission to file an oversized memorandum of law of
 no more than 40 pages in support of this motion.

                                                    Respectfully submitted,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney

                                            By:     /s/
                                                    Moira Kim Penza
                                                    Tanya Hajjar
                                                    Kevin Trowel
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000


 cc:    Counsel of record (by ECF)
        Clerk of Court (NGG) (by ECF)
